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7                   SUPERIOR COITRT-OF WASHINGTON FOR THURSTON.COUNTY

8                                                      Cause No.
       MICHELLE M. THOMPSON,                                       21-2-01314-34
9                                   Plaintiff,         COMPLAINT FOR DAMAGES
10
              Vs?

11
       S FEW'AY,.[NC:,a Califoraia•.corporation
12
       doing business ih Washington State and
       JOHN/JA.NEDOES 1-10,
13
                                    Defendants.
14.

15

16           CONIESNOW Plaintiff by and.throughtheirattorneys,.Ron Meyets-&Associates,PLLC,and

17    allege the following:

18                                               I. PARTIES

19           1.1      For all-times material hereto Plaintiff MICHELLE M.THOMPSON was above the age:

20 of majority.and a resident of Thurston County, Washington. Plaintiff-Was a business invitee on the

21    premises:of Defendant SAFEWAY,INC. at the time of the events eiving.rise to this lawsuit.

22           1.2.     Foral1 times material hereto Defendant SAFEWAY,ENC. was the owner and operator.

•)- 3 of the SafeWay store in Lacey,•Thurston County, Washington,. where Plaintiff MICHELLE M.

74 THOMPSON wasinjured. Defendant SAFEWAY,INC. isa-corporati_on with its.principal corporate:

25    headquartels in California. Defendant SAFEWAY, INC.'s registered agent- in Washington is CT

26 Corporation System, 505 Union Ave. SE, Suite.120, Olympia, WA 98501.

       COMPLANT FOR DAMAGES                                  RON MEYERS & ASSOCIATES I'LLC
       Page 1 45                                           3765 Tallon La KStt: A, Lacey, WA 93516-6654
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                                      II. JURISDICTION AND VENUE

            2.1     Jurisdiction and venue are proper in Thurston County, Washington pursuant to RCW

3    4.12.020 and RCW 4.12.025.

4           2,2.    SAFEWAY, INC. does business inThurston County, Washington.

3           2:3.    The negligent acts of Defendarit.SAFEWAY, INC. took place;at the SAFEWAY store

6    located at 1243 .Marvin Rd NE, Lacey, Thurston County, Washington.

7           2.4     The Plaintiff ,MICHELLE M. THOMPSON                   was injured inside the premises of

     SAFEWAY Store located at 1243 Marvin Rd NE, Lacey, Thurston County, Washington.

9           2 5 Plaintiff.MICHELLE M.THOMPSON was injured and suffered, and continues to suffer,

10 economic and non-economic damages in Washington. .

11                                    HI. NATURE OF COMPLAINT

1?          3.1     On August 2S, 2019, Plaintiff MICHELLE M.. THOMPSON 1,Vas. 'injured on. the

13   Defendant SAFEWAY, INC. premises located at 1243 Marvin Rd NE, Lacey, Thurston County,

14   W ashington.

is                  WhilePlaintiffMICHELLE M.THOMPSON With-herlunch inhand,.Was walking past

16   the selfseNechicken hot table station of Defendant SAFEWAY,INC., she slipped pn barbeque sauce

17   on the floor. The area of-the floor where Plaintiff fell was a dangerous condition. There were no

18   warnings of the dangerous condition.

19          13      Plaintiff MICHELLE M. THOMPSON fell hard on the floor injuring herback, neck,

20   lower tailbone, elbow, arm and spraining her ankle. The force ofim-pact With the flOorwas substantial

71   enough.to cause permanent injuries to.Plaintiff. who continues to suffer from radiating pain, restricted

     motion and ongoing disability.
73          .14      Defendant SAFEWAY,INC. failed to exercise ordinary care to maintain the area where

24   Plaintiff slipped and fell in a reasonably safe condition:

25          3,5      Defendant SAFEWAY, INC. had actual knowledge of the dangerous..condition, or the

26 dangerous.cOndition existed for a sufficient length,of time,and.under circumstances that SAFEWAY,

      COMPLAINT FOR DAMAGES                                        RON NIEYERS & ASSOCIATES PLLC
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                                                                         36Q-459-5600 Fax 360-459-5622=
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INC. shouldhave discovered it in the exerciseoforclinarytare and Defendant SAFEWAY, NC. failed.

to exercise.ordinary care to discover the dangerous condition.

       3.6     Defendant SAFEWAY,INC. should have.expected that Plaintiff wOuldnot discover or

realize the dangerous condition or that Plaintiff would fail to protect herself against the dangerous

condition.

       3.7     Defendant SAFEWAY,INC failed to COrrect the dangerousconditiOn, failed to vam

ofthedangeroustondition, andfailed to-exercise ordinarycare to protect Plaintiffagainst.thedangerous

condition.

       3.8     The dangerous condition was reasonably foreseeable by.Detendant SAFEWAY,INC.

       3.9       Plaintiff MICHELLE M. THOMPSON's injuries were reasonably foreseeable and

preventable by Defendant SAFEWAY,INC.,and were proximately caused by Defendant SAFEWAY,

INC.'s failure:to warn its customers of this foreseeable,hazard. Defendant SAFEWAY,INC. has the

highest:standard of care to its business invitees, and breached its non-delegable duty to provide a safe

shopping environment Wits customers.

       3.5     Asa direct and proximate result ofDefendant SAFEWAY,INC.'s negligente, Plaintiff

MICHELLE :M: TH.OIPSON             suffered economic damages, including past and future medical

expenses, past and future earning losses and past arid 'future out-Of-pocket damages. Plaintiff

MICHELLE M.SMITH also suffered non-economic damages including past and future disability, loss

of-enjoyment of life, physical and mental pain and -suffering, and emotional distress.

       3.6    There.was no fault on the part of the Plaintiff.

       3.7     Plaintiff has suffered serious physical injuries as a result of Defendants' -negligence.

Piaintifrsuffered Substantial damages,.special and general, as a direct result of the colliSion. Plaintiff

is entitled to recover for their-damages in an .amourit.to.be proven at trial:

                            IV. NEGLIGENCE CAUSE.OF ACTION

       4.1      Defendant SAFEWAY, 1NC."s negligent conduct caused Plaintiff MICHELLE M.

THOMPSON's injuries and damages. Defendant SAFEWAY,INC. created the dangerous'ebridition,

 COMPLAINT FOR DAMAGES                                      RON MEYERS & ASSOCIATES.PLLC
 Page.3 of 5                                              8765 Tallon Ln NE Ste A. Lacey, WA 98516,664
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     failed to properly inspect, or correct the dangerous condition and caused Plaintiff MICHELLE M.

     THOMPSON'SAbries and damages. Defendant SAFEWAY,INC'. alsolailed.to.properly and timely

3. inspect, maintain and repair its commercial, for profit, premises:

4           4.2      Defendant SAFEWAY: INC. derives a pecuniary benefit from its method ofoperation

5    that involves self service of a high number of customers that .enter and exit its stores. Defendant

6 SAFEWAY, INC. 's self service method of,operation•is more dangeroOS to customers. Defendant

7    SAFEWAY INC. owed           a   non-delegable duty to:business invitees to exercise...reasonable care in

8    keeping.its premises in a reasonably safe condition.

9           4.3      The operating procedures ofDefendant SAFEWAY,INC. were such that unreasonably

10 dangerous conditions were continuous, or reasonably foreseeable, so that there is nolegal requirement

11   to prove actual or constructive notice of such conditions in order to establish liability.

12          4.4      Defendant SAFEWAY,ENC. Owed Plaintiff MICHELLE M.THOMPSON icommon

13   law dutyy of'care, breached that common Jaw duty and, as a. direct and proximate result, Plaintiff

14   MICHELLE M.THOMPSON suffered serious, permanent arid progessiveinjUries and disability.

15                                          V. PROXIMATE CAUSE

16           5.1      As a direct result of Defendant SAFEWAY,1NC.'s        negligence, Plaintiff MICHELLE

17   M. THOMPSON .suffered and will continue to Suffer, severe and permanent.special damages and.

18   general damages, to be proven at trial.

19                                         VI. RELIEF REQUESTED

70           WHEREFORE Plaintiff respectfully requests the following relief from Defendants:
71          6.1      Past and future economic damages as proven at trial, including prejudgment interest on

                     liquidated damages.
73          .6.2     'Past and future noneconomic damages,as proven at trial,

?4          6.3      'Taxable costs, includi ng statutory attorney fees..

75          6.4      Such other relief.as the COLirt deems proper.

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      CONIPLAINTFOR DAMAGES                                       RON NIEYERS &.ASSOCIATES PLLC
      'Page 4 of..5                                             8765 Tallon Ln NESie A, Lacey; WA 98516,6654
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          DATED this the .bticlay of July, 2021.


                                      RON NIEYERS & ASSO 1ATES PLLC


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                                     'By:
                                            Matthew .G. John A, WSBA No. 27976
6                                           Ron Meyers, WS A No. 13:169
                                            Tim FriechTtan;.W. BA No. 37933
7                                           Attune     or Plat tiff

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      COMPLAINT FORADAMAGES-                          RON N1EYERS & ASSOCIATES,Pt,LC
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